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 6   Attorneys for Plaintiff FTC - Forward
 7   Threat Control, LLC

 8                                   UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN JOSE DIVISION

11   FTC - FORWARD THREAT CONTROL, LLC                     Case No. ______________________
12                      Plaintiff,                         FTC - FORWARD THREAT
13                                                         CONTROL’S CIVIL L.R. 3-15
            v.                                             CERTIFICATION OF
14                                                         INTERESTED ENTITIES OR
     DOMINION HARBOR ENTERPRISES, LLC;                     PERSONS AND FRCP 7.1
15   DOMINION HARBOR GROUP, LLC;                           DISCLOSURE STATEMENT
     MONUMENT PATENT HOLDINGS, LLC;
16   MONUMENT IP FUND 1, LLC; and FTC
17   SENSORS, LLC,

18                      Defendants.

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20          Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,
21   associations of persons, firms, partnerships, corporations (including parent corporations) or other
22   entities (i) have a financial interest in the subject matter in controversy or in a party to the
23   proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be
24   substantially affected by the outcome of this proceeding: Francis S. Zajac, the 100% owner and
25   sole manager of Plaintiff.
26          Pursuant to FRCP 7.1, the undersigned certifies that Plaintiff has no parent corporation
27   and that no publicly held corporation owns more than 10% of Plaintiff’s stock.
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     CIVIL L.R. 3-15 CERTIFICATION AND               -1-
     FRCP 7.1 DISCLOSURE STATEMENT
 1   Dated: October 14, 2019              Respectfully submitted,
 2                                        /s/ Ryan Tyz
 3                                        Ryan Tyz

 4                                        Attorneys for FTC SENSORS, LLC

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     CIVIL L.R. 3-15 CERTIFICATION AND   -2-
     FRCP 7.1 DISCLOSURE STATEMENT
